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Howard Superior Court 4 Howard County, Indiai
STATE OF INDIANA ) IN THE HOWARD CIRCUIT/SUPERIOR COURT
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COUNTY OF HOWARD ) CAUSE NO.
STEPHANIE GRAY and NATHAN GRAY,
Plaintiffs,
JURY TRIAL DEMANDED
Vv,
SPEEDWAY LLC,
Defendant.
COMPLAINT FOR DAMAGES

COME NOW the Plaintiffs, Stephanie Gray and Nathan Gray, by counsel, and for their
Complaint for Damages against Defendant Speedway LLC, respectfully allege and state as
follows:

1. On or about September 12, 2019, Plaintiff Stephanie Gray was severely injured
while visiting the Speedway store #8063, located at 1303 North Reed Road, Kokomo, Indiana
46901 (hereinafter, the “Convenience Store”) when she suffered a fall on wet floor surface within
the Convenience Store.

2 As set forth in more detail below, this incident and the resulting injuries and
damages were the direct and proximate result of the negligence of the Defendant.

FACTUAL BACKGROUND

 

3, At all times relevant to this Complaint, Plaintiffs Stephanie Gray and Nathan Gray
were residents of the Town of Bunker Hill, Miami County, State of Indiana and were legally

matried.
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4, Defendant Speedway LLC is a foreign for-profit corporation incorporated under
the laws of Delaware with registered agent for service designated at C T Corporation System, 334
North Senate Avenue, Indianapolis, Indiana 46204.

a At all times relevant to this action, Defendant owned, operated, controlled, and/or
maintained the Convenience Store.

6. At all times mentioned herein, the acts and/or omissions of the Defendant
Speedway LLC were performed and/or omitted by and through its employees, servants, and/or
representatives acting within the scope of their employment for the Defendant.

i On or about September 12, 2019, at approximately 10:30 a.m., Plaintiff Stephanie
Gray was a customer and business invitee upon the premises of the Convenience Store.

8. While walking through the Convenience Store’s interior space near the fountain
machine, Plaintiff Stephanie Gray suddenly and without notice or warning encountered an
unreasonably unsafe wet floor condition, causing her to lose her footing and fall violently upon
the floor surface below.

9. The floor where Plaintiff Stephanie Gray slipped and fell inside the Convenience
Store was within the exclusive control, maintenance, and management of Defendant Speedway
LLC;

10. As a direct result of the above-described circumstances and the fall she suffered,
Plaintiff Stephanie Gray has sustained a number of severe and likely permanent injuries.

NEGLIGENCE
11, Plaintiffs incorporate by reference all allegations in this Complaint as if fully set

forth below.
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12. At the time of the incident described herein, Defendant Speedway LLC owed
certain duties of care for the safety and protection of invitees of its Convenience Store.

LS. Defendant Speedway LLC, through its employees and/or agents, was negligent in
one or more of the following ways:

a. Failing to maintain the premises of the Convenience Store in a reasonably fit
and safe condition for the use of its invitees and patrons;

b. Failing to reasonably inspect the Convenience Store premises in order to
discover and correct any dangerous or defective conditions on the premises and
structures thereupon;

c. Failing to timely repair, remediate, correct, or take precautions with respect to
a potentially dangerous condition of the Convenience Store premises within the
Defendant’s knowledge and control;

d. Failing to disclose, notify, or warn Plaintiffs of hidden defects or dangers upon
the Convenience Store premises, that the Defendant knew or should have
known existed; and/or

e. Otherwise failing to exercise reasonable care for the safety, health, and
wellbeing of invitees and patrons of the Convenience Store.

14. Asa direct and proximate result of the carelessness and negligence of the
Defendant, Plaintiff Stephanie Gray sustained serious bodily injuries, some of which are likely
permanent.

15. Asa result of the aforementioned injuries, and in an effort to treat those injuries

and lessen her physical pain and mental anguish, Plaintiff Stephanie Gray has been required to
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engage the services of physicians and health care providers for medical evaluation and treatment,
and in doing so, she has incurred medical expenses.

16. ——‘ Plaintiff Stephanie Gray will likely require future medical care for the injuries she
sustained as a result of the Defendant’s negligence, for which she will incur additional medical
expenses,

17. Asadirect and proximate result of the negligence of Defendant Speedway LLC,
Plaintiff Stephanie Gray was forced to miss time and opportunities at her job, resulting in a loss of
income and earnings, which may continue in the future.

18. Asa direct and proximate result of the negligence of Defendant Speedway LLC,
Plaintiff Stephanie Gray has experienced, and will continue to experience, significant pain and
suffering, mental anguish, reduced mobility, and a diminishment in her quality and enjoyment of
life.

19. As a direct and proximate result of the negligence of Defendant Speedway LLC,
Plaintiff Nathan Gray has suffered the loss of his wife’s consortium, services, and affection.

20. Asa direct and proximate result of the negligence of Defendant Speedway LLC,
Plaintiffs Stephanie Gray and Nathan Gray have been damaged.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiffs Stephanie Gray and Nathan Gray pray for judgment against the
Defendant, Speedway LLC, in an amount commensurate with their respective injuries and
damages, for costs of this action, prejudgment interest as allowed by law, and for all other relief

just and proper in these premises,
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DEMAND FOR JURY TRIAL

 

The Plaintiffs respectfully demand a jury trial on all of their claims.

Respectfully submitted,

/s/ Lance R. Ladendorf
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